Case 5:24-cv-12647-JEL-KGA ECF No. 19, PagelD.656 Filed 10/25/24 Page 1 of 3
STATE OF MICHIGAN
IN THE 39TH CIRCUIT COURT FOR WENAWEE COUNTY
DERRICK LEE CARDEULO-SMITH #267009,
Plaintiff,
Ve Case Ne 24-7362-N0
Vs Henreble Anna Merie Anzaelene

SEAN COMBS, et eal
Defendant,

DEFENDANT AND PUAINTIFFS ACCEPTANCE OF PLAINTIFFS OFFER
TO SETTLE THE PERSONAL INJURY CLIAIMS RAISED IN THE ORIGINAL
QAWSUIT.IN-THE 39TH CIRCUIT. COURT FOR VENAWEE COUNTY

Pleaee be advised that the Sefendant Sean Ceabe has made a final
effer in this cease and Plaintiff hereby accepts the defendants
Finel effer in this case as detailed in the Settlement agreed
upen between Defendant Sean Cembs and Plaintiff Derrick tee
Cardelle-Smith and beth parties and perssns agree te the
reselutien ef the case fer the PERSONAL INJURY CUAIMS OF THE
SEXUAL ASSAULT ONLY AND THIS BOES NOT INCLUDE THE CONTRACTUAL
MULTIPLE PERSONS AGREEMENT TO SIUENCE ANB BREACH OF CONTRACT
CLAIMS THAT REMAIN UNRESOLVED ANB SUBJECT TO UITIGATION BY THE
PUAINTIFF AND DEFENDANT.

Plaintiff hereby agrees te the reselutien ef the case and is
sllewed te centinue the specific eppellate rights and litigetien
fer Reineteating the Original Judgment entered by the Ceurt en
Septeaber 9, 2024 and eentinue eny ether preeedureal areas ef
interest in thie cese.

10-17-26

Derrick tee Cardelle-Smith
#2670098

—E.C. Broaks Correctional Facility
2500 S. Sheridan Drive

Muskegen, MI &9446

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OCT 25 2024

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POOR QUALITY ORIGINAL

Case 5:24-cv-12647-JEL-KGA ECF No. 19, PagelD.657 Filed 10/25/24 Page 2 of 3

Mz. Derrick Lee Caradello-Smith
#267009
E.C. Brooks Correctional Facility
2500 S. Sheridan Daive
Muskegon, MI 49444

October 21, 2024

Office of the Clerk

US Ddstadet Court

Eastern District of Michigan
Theodore Levin US Courthouse
231 W. Lafayette Bldg
Detroit, MI 48226

Re: Derardck Lee Cardello-Smith v. Sean Combs
Case No 24-1246?

Dear Cleak:
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Enclosed for filing in the above cause the following documents
for placement o @ assigned Judges Case Record.

in this matter.

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